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                               No. 22-6070

  United States Court of Appeals for the Sixth Circuit
                      __________________________
                           LISA KAY GOINS

                            Plaintiff - Appellee

                                     v.

 SAINT ELIZABETH MEDICAL CENTER, INC.; KROGER CO.; JOHN
            DOES; JANE DOES; MODERNATX, INC.

                                Defendants

  TRI-STATE GASTROENTEROLOGY ASSOCIATES; M.D. JOEL M.
                       WARREN

                         Defendants – Appellants
                                _______
          DEFENDANTS-APPELLANTS' PRINCIPAL BRIEF
                 __________________________

On Appeal from the U.S. District Court for the Eastern District of Kentucky
                          (Covington Division)
                           No. 2:22-CV-00091
                (Hon. David L. Bunning, District Judge)


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                     Case:
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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 22-6070                              Case Name:        Lisa Goins v. Saint Elizabeth Medical Center, Inc., et al

 Name of counsel: Teresa Pike Tomlinson

 Pursuant to 6th Cir. R. 26.1, Joel M. Warren, M.D.
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  Joel M. Warren, M.D. is a boardmember and shareholder of Tri-State Gastroenterology
  Associates. Tri-State Gastroenterology Associates, a Kentucky entity, has no parent
  corporation, and no publicly held corporation owns more than 10% of its stock.




 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  Joel M. Warren, M.D. is a boardmember and shareholder of Tri-State Gastroenterology
  Associates. Tri-State Gastroenterology Associates is insured by The Medical Protecive
  Company, pursuant to a policy administered by MedPro Group. The Medical Proctective
  Company and MedPro Group are both owned by Berkshire Hathaway, Inc., a publicly traded
  company.



                                             CERTIFICATE OF SERVICE

                               December 27, 2022
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Teresa Pike Tomlinson




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .




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                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

        (a) Parties Required to Make Disclosure. With the exception of the United States
 government or agencies thereof or a state government or agencies or political subdivisions thereof,
 all parties and amici curiae to a civil or bankruptcy case, agency review proceeding, or original
 proceedings, and all corporate defendants in a criminal case shall file a corporate affiliate/financial
 interest disclosure statement. A negative report is required except in the case of individual criminal
 defendants.
        (b) Financial Interest to Be Disclosed.
                (1) Whenever a corporation that is a party to an appeal, or which appears as amicus
 curiae, is a subsidiary or affiliate of any publicly owned corporation not named in the appeal, counsel
 for the corporation that is a party or amicus shall advise the clerk in the manner provided by
 subdivision (c) of this rule of the identity of the parent corporation or affiliate and the relationship
 between it and the corporation that is a party or amicus to the appeal. A corporation shall be
 considered an affiliate of a publicly owned corporation for purposes of this rule if it controls, is
 controlled by, or is under common control with a publicly owned corporation.
                  (2) Whenever, by reason of insurance, a franchise agreement, or indemnity agreement,
 a publicly owned corporation or its affiliate, not a party to the appeal, nor an amicus, has a substantial
 financial interest in the outcome of litigation, counsel for the party or amicus whose interest is aligned
 with that of the publicly owned corporation or its affiliate shall advise the clerk in the manner provided
 by subdivision (c) of this rule of the identity of the publicly owned corporation and the nature of its or
 its affiliate's substantial financial interest in the outcome of the litigation.
         (c) Form and Time of Disclosure. The disclosure statement shall be made on a form
 provided by the clerk and filed with the brief of a party or amicus or upon filing a motion, response,
 petition, or answer in this Court, whichever first occurs.




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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

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                        and Financial Interest
 Sixth Circuit
 Case Number: 22-6070                              Case Name:        Lisa Goins v. Saint Elizabeth Medical Center, Inc., et al

 Name of counsel: Teresa Pike Tomlinson

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                                                            Name of Party
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                                             CERTIFICATE OF SERVICE

                               December 27, 2022
 I certify that on _____________________________________         the foregoing document was served on all
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 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Teresa Pike Tomlinson




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                                       6th Cir. R. 26.1
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        (a) Parties Required to Make Disclosure. With the exception of the United States
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 between it and the corporation that is a party or amicus to the appeal. A corporation shall be
 considered an affiliate of a publicly owned corporation for purposes of this rule if it controls, is
 controlled by, or is under common control with a publicly owned corporation.
                  (2) Whenever, by reason of insurance, a franchise agreement, or indemnity agreement,
 a publicly owned corporation or its affiliate, not a party to the appeal, nor an amicus, has a substantial
 financial interest in the outcome of litigation, counsel for the party or amicus whose interest is aligned
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             STATEMENT REGARDING ORAL ARGUMENT

      This case involves the substantive application of the Public Readiness and

Emergency Preparedness (“PREP”) Act (42 U.S.C. §§ 247d-6d, 247d-6e) to a

physician (and his physician group) assessing, diagnosing, and treating side effects

to the COVID-19 vaccine. Not only are vaccines covered countermeasures, but the

products and devices utilized to diagnose or treat conditions caused by the COVID-

19 vaccine are covered countermeasures under the PREP Act. The District Court

erred in failing to recognize that fact resulting in a clear error of law in not dismissing

the physician and physician group under the Act just as the vaccine manufacturer

and distributor had been dismissed.

      This case is distinguished from the circuit court cases, including Hudak v.

Elmcroft of Sagamore Hills, 58 F.4th 845 (6th Cir. 2023), which relate to PREP Act

federal removal jurisdiction because here the District Court had subject matter

jurisdiction over this case via other means, to-wit: 28 U.S.C. § 1442(a)(1) (federal

officer removal jurisdiction of Defendants Moderna and Kroger) and 28 U.S.C. §

1367 (supplemental jurisdiction, at least, over other Appellants). Accordingly,

subject matter jurisdiction was established at the time of the court’s ruling on the

motions to dismiss. Neither Hudak nor other circuit court opinions address the

substantive application of PREP Act immunity and preemption for claims relating




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to the utilization of countermeasure products and devices in diagnosing and treating

vaccine side effects.

      Oral argument will permit a thorough vetting of this novel question which

effects healthcare providers and claimants in suits throughout the Circuit.




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                      I. STATEMENT OF JURISDICTION

   A. Statement of Subject Matter Jurisdiction

      The District Court exercised jurisdiction over now-dismissed Defendants

ModernaTX, Inc. (“Moderna”) and The Kroger Co. (“Kroger”) pursuant to

1442(a)(1), the federal officer removal statute, and exercised supplemental

jurisdiction pursuant to 28 U.S.C. § 1367 over Defendants-Appellants Joel M.

Warren, M.D. (“Dr. Warren”) and Tri-State Gastroenterology Associates (“Tri-

State”) (collectively “Appellants-Defendants”). See Mem. Op. and Order [R. 32],

PageID# 535 n.1, and PageID# 538 n.4; Order on Mt. to Alert or Amend [R. 37],

PageID# 582-83. Subject matter jurisdiction is proper pursuant to 28 U.S.C. §§ 1367

and 1442.

   B. Statement of Appellate Jurisdiction

      Appellate jurisdiction is substantiated under 28 U.S.C. § 1367. Carlsbad Tech.

Inc. v. HIF Bio, Inc., 556 U.S. 635, 641 (2009); Long v. Bando Mfg. of America, Inc.,

201 F.3d 754, 758-59 (6th Cir. 2000). Appellate review also is proper under 28

U.S.C. § 1291 as the District Court’s denial of Appellants’ suit immunity is subject

to direct appeal: “[T]he denial of a substantial claim of absolute immunity is an order

appealable before final judgment.” Mitchell v. Forsyth, 472 U.S. 511, 524-25 (1985).

      Additionally, because Moderna and Kroger asserted federal officer

jurisdiction, and the lower court addressed the issue, appellate jurisdiction is proper
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under 28 U.S.C. §§ 1442(a)(1) and 1447(d). See BP P.L.C. v. Mayor and City

Council of Baltimore, 141 S.Ct. 1532, 1536-1540 (2021) (section 1447(d) permits

appellate review of the entire district court’s remand “order”); see also Edmondson

& Gallagher v. Alban Towers Tenants Ass’n, 48 F.3d 1260, 1266-67 (D.C. Cir.

1995) (first reviewing propriety of motion to dismiss and then considering the

propriety of remand under 28 U.S.C. § 1367), cited favorably on related grounds in,

Long, 201 F.3d at 761.

   C. Timeliness of Appeal

      The District Court’s motion to dismiss (and remand) order was entered on

December 9, 2022. Am. J. [R. 38] ⁋3. The Notice of Appeal was timely filed on

December 9, 2022. See FED. R. CIV. P. 4(a)(1)(A); Not. Of Appeal [R. 39].

   D. Finality of Order

      The District Court’s motion to dismiss (and remand) order is final in that it

terminates the controversy. 28 U.S.C. § 1291; see also Mitchell, 472 U.S. at 524-25.




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                           II. STATEMENT OF ISSUES

1) Whether the utilization of United States Food and Drug Administration (FDA)

   approved products and devices for the diagnosis or treatment of conditions

   caused by the COVID-19 vaccine are “covered countermeasures” under the

   PREP Act thereby affording Dr. Warren and Tri-State PREP Act protections.

2) Whether the District Court erred in refusing to apply immunity and defensive

   “ordinary” preemption to this case in the same fashion as was applied to

   Defendants Moderna and Kroger and thereby erred is failing to dismiss the claims

   against Dr. Warren and Tri-State.

                       III. STATEMENT OF THE CASE

   A. Factual and Statutory Background

      COVID-19 besieged the United States beginning in early 2020, requiring the

federal government to coordinate a national response. To that end, the HHS

Secretary issued a declaration activating the PREP Act in order to provide a “whole-

of-nation” response for combating the COVID-19 pandemic. Declaration Under the

Public Readiness and Emergency Preparedness Act for Medical Countermeasures

Against COVID-19, 85 Fed. Reg 15198, 15198 (Mar. 17, 2020) (“Declaration”)

(COVID-19 “constitutes a public health emergency for purposes of [issuing a]

Declaration under the PREP Act”); see also Fourth Amendment to the Declaration

Under the Public Readiness and Emergency Preparedness Act for Medical


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Countermeasures Against COVID-19 and Republication of the Declaration, 85 Fed.

Reg.   79190,   79191      (Dec.   9,   2020)    (“Fourth    Amendment”)       (“[T]here

are…substantial federal legal and policy interests, in having a unified whole-of-

nation response to the COVID-19 pandemic[.]”).

       There was no vaccine to mitigate or prevent the impact of the pandemic for

nearly a year. Declaration, 85 Fed. Reg. at 15200 (encouraging manufacturers to

“create a vaccine” in order to combat a pandemic); id. (“Covered Countermeasures

are…any vaccine, used to treat…[or] cure…COVID-19”); see also Release, U.S.

Department of Defense, HHS Accelerates Clinical Trials, Prepares for

Manufacturing of COVID-19 Vaccines (Mar. 30, 2020). “[T]he complete clinical

picture regarding [COVID-19 was] not fully understood.” Declaration, 85 Fed. Reg.

at 15198, Col. B. Finally, on December 18, 2020, the FDA granted an Emergency

Use Authorization (“EUA”) for the Moderna COVID-19 vaccine. See FDA News

Release, FDA Takes Additional Action in Fight Against COVID-19 By Issuing

Emergency Use Authorization For Second COVID-19 Vaccine (Dec. 18, 2020).

       A vaccine is a covered countermeasure protected under the PREP Act:

“[C]overed countermeasures are any … vaccine[] used to treat, diagnose, cure,

prevent, or mitigate COVID–19.” Declaration, 85 Fed. Reg. at 15202, Col. A, citing

42 U.S.C. §§ 247d-6d(i)(1)(A) (defining covered countermeasures as including

qualified pandemic products), (i)(7) (defining qualified pandemic products). On


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June 8, 2020, HHS clarified that COVID-19 countermeasure protections extend to

“include qualified products that limit the harm COVID–19 might otherwise cause,”

such as a negative reaction to the COVID-19 vaccine. Second Amendment to the

Declaration Under The Public Readiness and Emergency Preparedness Act for

Medical Countermeasures Against COVID-19, 85 Fed. Reg. 35100, 35101, Col. B,

(June 8, 2020) (“Second Amendment”), citing 42 U.S.C. § 247d-6d(i)(7)(A)(i)(II).

Notably, the PREP Act also defines qualified pandemic products to include “a

product…used…to diagnose, mitigate, prevent, treat, or cure a serious or life-

threatening disease or condition caused by a [vaccine].” 42 U.S.C. § 247d-

6d(i)(7)(A)(ii) (emphases added).1

      In gearing up for the coming COVID-19 vaccine and to save lives, HHS

recognized the need to prepare for “emergency reactions” to the anticipated COVID-

19 vaccine. Third Amendment to the Declaration Under the Public Readiness and


      1
         “Products” as contemplated by the PREP Act definition of “qualified
pandemic product” include drugs or devices “approved or cleared under chapter V
of the Federal Food, Drug, and Cosmetic Act [(“FD&C Act”)].” 42 U.S.C. § 247d-
6d(i)(7), (i)(7)(B)(i) (incorporating by reference the FD&C Act); see also 21 U.S.C.
§ 351 et seq. (the FD&C Act). “Products” as defined by the FD&C Act include
“devices.” 21 C.F.R. § 8203(r). The PREP Act incorporates the FD&C Act’s
definition of “device” within its definition of “qualified pandemic” product: “The
term ‘qualified pandemic or epidemic product’ means…a device (as such term is
defined by section 201(h) of the [FD&C Act] (21 U.S.C. § 321(h))”. See 42 U.S.C.
§ 247d-6d(i)(7). “The term ‘device’…means an instrument…machine…or other
similar or related article…intended for use in the diagnosis of disease or other
conditions, or in the cure, mitigation, [or] treatment…of disease in man[.]” 21 U.S.C.
§ 321(h)(1)(B).
                                          5
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Emergency Preparedness Act for Medical Countermeasures Against COVID-19, 85

Fed. Reg. 52136, 52139, Col A (Aug. 24, 2020) (“Third Amendment”) (anticipating

reactions). In October 2020, HHS explained that covered countermeasures include

treatments of side effects from the anticipated COVID-19 vaccine. See HHS,

Advisory Opinion 20-03 on the Public Readiness and Emergency Preparedness Act

and the Secretary’s Declaration under the Act, p. 4 (Oct. 22, 2020, as modified Oct.

23, 2020) (“AO 20-03”).2 For example, the use of epinephrine as the “treatment of

choice” for “serious or life-threatening condition[s] that…may be a side effect of

vaccine administration” are covered countermeasures under the PREP Act. AO 20-

03, p. 3-4. If healthcare providers administered epinephrine to “address [a] severe

acute [COVID-19] vaccine reaction[],” the PREP Act would cover healthcare

providers affording them immunity from suit and liability for vaccine reaction

claims. Id.; see also infra pp. 16-17.

        Thus, America’s healthcare providers, such as Dr. Warren and Tri-State, are

qualified persons and covered persons under the PREP Act when they utilized FDA

approved products or devices to “diagnose, mitigate, prevent, treat, or cure a serious



    2
     All HHS Advisory Opinions have been adopted repeatedly into the Declaration
and are controlling. See, e.g., Fourth Amendment, 85 Fed. Reg. at 79194-95 & n. 5;
Sixth Amendment to the Declaration Under the Public Readiness and Emergency
Preparedness Act for Medical Countermeasures Against COVID-19, 86 Fed. Reg.
9516, 9516, Col. C (Feb. 16, 2021).

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or life-threatening disease or condition caused by” the COVID-19 vaccine. 42

U.S.C. § 247d-6d(i)(2) (covered person), (i)(7)(A)(i) and (i)(7)(A)(ii) (qualified

pandemic products); (i)(8) (qualified person). That is the case here as the Complaint

alleges Dr. Warren and Tri-State utilized qualified pandemic (FDA-approved)

products/devices in performing an “upper endoscopic ultrasound with fine needle

aspiration,” an “esophagogastroduodenoscopy,” and “pancreatic biopsy” on Ms.

Goins in diagnosing and treating the condition caused by the COVID-19 vaccine

that she received. Compare 42 U.S.C. § 247d-6d(i)(7)(A)(i), (ii), with Compl. [R. 1-

2], PageID# 39, ⁋⁋23-24; Third Amendment, 85 Fed. Reg. at 35101 (discussing

PREP Act coverage for FDA approved products and devices used to diagnose and

treat vaccine reactions); Fourth Amendment, 85 Fed. Reg. at 79196. Appellants also

utilized FDA-approved drugs in the process of administering anesthesia during these

procedures. Compl. [R. 1-2], PageID# 39, ⁋23.

   B. The Goins Action

      This action was filed on June 6, 2022, in the Boone Circuit Court of Kentucky.

Compl. [R. 1-2]. The Complaint asserts negligence, battery and intentional harm

punitive damages claims against Dr. Warren and Tri-State relating to the alleged

improper administration or use of PREP Act countermeasures to diagnose and treat




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side effect and conditions caused by the Plaintiff-Appellee’s COVID-19 vaccination,

to-wit:

    Dr. Warren and Tri-State are licensed to “practice medicine in the State of
     Kentucky.” Id., PageID #35-36, ⁋2;

    Moderna, Inc. developed a “transformative vaccination mRNA medicine
     (COVID-19) to initiate an immune response against Coronavirus Disease.”
     Id., PageID# 37, ⁋9;

    Ms. Goins was administered her first Moderna COVID-19 vaccine on July 3,
     2021, and her second on July 31, 2021, both at a Kroger Pharmacy location.
     Id., ⁋⁋12-13;

    “Following Ms. Goins’ second Moderna COVID-19 vaccine her blood
     glucose levels fluctuated from her standard controlled level.” Id., ⁋14;

    “On August 3, 2021 Ms. Goins woke up with a blood glucose level of 217 but
     it dropped to 48. After several attempts to increase her blood glucose level
     with no improvement…[Ms. Goins] was admitted to St. Elizabeth Hospital
     for…evaluation for hypoglycemia and shortness of breath.” Id., PageID# 37-
     38, ⁋15;

    Ms. Goins’ initial side effects included “persistent hypoglycemia,” ruptured
     veins due to the “thickness of [her] concentrated glucose,” and “abdominal
     pain [in an] unspecified abdominal location.” Id., PageID# 38, ⁋⁋16-17, 22;

    To diagnose and determine the root cause of Ms. Goins’ side effects, such as
     the possibility of an “insulinoma” or tumors located on her pancreas, Dr.
     Warren performed, “under monitored anesthesia care,” an “upper endoscopic
     ultrasound with fine needle aspiration,” an “esophagogastroduodenoscopy,”
     and a pancreatic fine needle biopsy “with a 22-[gauge] Boston Acquire
     needle.” Id., PageID# 39, ⁋23;

    “There was no mass,” such as an insulinoma, located on Ms. Goins’ pancreas.
     Id., ⁋⁋23, 25



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    Ms. Goins’ physicians had allegedly “never seen anything like it” and
     diagnosed that her side effects were caused by “a reaction to her July 31, 2021
     second Moderna COVID-19 vaccine.” Id. PageID# 38-39, ⁋⁋19, 26;

    Plaintiff claims Ms. Goins suffered injuries and conditions caused by the
     administration of “a high risk pharmaceutical of transformative vaccine
     mRNA medicine (COVID-19).” Id., PageID# 51, ⁋37.

      Shortly after the Complaint was filed, Moderna and Kroger removed based on

federal officer removal and federal question jurisdiction while Dr. Warren and Tri-

State removed this action based upon federal question jurisdiction. See Moderna

Not. of Removal [R. 1], PageID# 4-11, and PageID# 20-24 (federal question

jurisdiction); see also Warren and Tri-State Not. of Removal [R. 9], PageID# 78-86.

      Four Defendants filed Motions to Dismiss, arguing Plaintiff-Appellee Goins’

(“Goins”) claims are barred under subsections (a)(1) and (b)(8) of the PREP Act.

See generally Moderna Mot. To Dismiss [R. 12]; Dr. Warren and Tri-State Mot. To

Dismiss [R. 15]; Kroger Mot. To Dismiss [R. 16]. On November 9, 2022, the District

Court exercised original jurisdiction under the federal officer removal statute to rule

on the Motions. See Mem. Op. and Or. [R. 32], PageID# 535 n.1, and PageID# 538

n.4. The Court granted the Motions to Dismiss as to Moderna and Kroger. Id. The

District Court reasoned that Moderna and Kroger “distributed” or “produced”

(respectively) the COVID-19 vaccination — a covered countermeasure. Id. at

PageID# 541-43. The District Court therefore held that Moderna and Kroger were

“covered persons” as contemplated by the PREP Act. Thus, the claims against

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Moderna and Kroger were “expressly preempted by the PREP Act” and were

dismissed. Id.

      The Court denied Dr. Warren’s and Tri-State’s Motion under the PREP Act

and then declined to retain supplemental jurisdiction. Id. The District Court also

improperly limited the breadth of “covered countermeasures” to only the COVID-

19 vaccine, excluding other approved covered countermeasures. Compare Mem. Op.

and Or. [R. 32] at PageID# 544-45, with 42 U.S.C. § 247d-6d(i)(1)(A), (i)(7)(A)(ii).

According to the lower court, the administration of “treatment [to] Ms. Goins after

she received a vaccine” to treat the side effects of the vaccine did not amount to

administering a covered countermeasure. Id. at PageID# 544 (emphasis added). That

finding is directly contrary to the express terms of the PREP Act. The lower court

incorrectly held that because “none of the facts asserted alongside [Goins’] claims

make allegations regarding Dr. Warren and Tri-State’s prescription, administration,

or dispensation of the vaccine…Dr. Warren and Tri-State are not ‘covered persons’

under the PREP Act[.]” Id. at PageID# 546. That holding is erroneous and is due to

be reversed.

      The District Court then declined to retain supplemental jurisdiction over the

claims against Dr. Warren and Tri-State and remanded the case to state court,

holding that because “the remaining claims…regard[] the medical treatment [and

care] that Ms. Goins received from…Dr. Warren, and Tri-State” after Ms. Goins


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took the vaccine, such claims belong in Kentucky state court. Id. at PageID# 546-

47. On November 18, 2022, Dr. Warren and Tri-State filed a Motion to Alter or

Amend the District Court’s Order, pointing out that the PREP Act expressly requires

that covered countermeasures include “qualified pandemic” products, such as the

diagnostic and treatment products and devices utilized by Dr. Warren and Tri-State

to treat the effects of the COVID-19 vaccine. Mot. To Alter or Amend the Ct.’s Nov.

9, 2022, J. [R. 36], PageID# 577; see also 42 U.S.C. § 247d-6d(i)(1)(A),

(i)(7)(A)(ii). The Court declined to alter or amend its earlier order.3 Amended J. [R.

38], PageID# 588. Dr. Warren and Tri-State filed this appeal.

                     IV. SUMMARY OF THE ARGUMENT

        This action falls under the scope of the PREP Act because it is a “claim for

loss” and because it alleges injuries relating to and arising from products and devices

utilized to diagnose or treat Ms. Goins’ reaction to the COVID-19 vaccine. 42 U.S.C.

§ 247d-6d(a)(1) (“all claims for loss”); (a)(2)(B) (causal scope of Act), (i)(1)

(covered countermeasures include “qualified pandemic” products), (i)(7)(A)(ii)



    3
     Subsequent to the District Court’s November 9, 2022 Order, Dr. Warren and
Tri-State filed a Motion for Automatic 30-Day Stay of the Court’s Judgment or, in
the Alternative, Motion to Recall the Mandate. See generally [R. 35] (“Motion to
Stay or Recall”). The District Court granted the Motion to Stay or Recall “to the
extent that [the Motion] seeks a clarification of the automatic stay under [Federal
Rule of Civil Procedure] 62(a)” but denied it in part “to the extent that it seeks a stay
pending appeal or a full recall” of the order. Mot. to Alter or Amend the Ct.’s Nov.
9, 2022 J. [R. 36], PageID# 586.
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(defining “qualified pandemic” products). Dr. Warren and Tri-State are

indistinguishable from defendants Moderna and Kroger in regard to their utilization

of covered countermeasures. Given that subject matter jurisdiction existed, the

District Court was required to also dismiss Dr. Warren and Tri-State pursuant to

PREP Act immunity and defensive “ordinary” preemption. Id., § 247d-6d(a)(1) (suit

and liability immunity), (b)(8) (defensive “ordinary” preemption).

      This case is distinguished from the recent circuit court PREP Act cases,

including Hudak. Here Dr. Warren’s and Tri-State’s PREP Act removal jurisdiction

is incidental to the ruling on the Motion to Dismiss because the District Court had

subject matter jurisdiction over this case via other means, to-wit: 28 U.S.C. §

1442(a)(1) (Moderna and Kroger’s federal officer removal) and 28 U.S.C. § 1367

(Dr. Warren’s and Tri-State’s supplemental jurisdiction). The court chose to exercise

that jurisdiction by ruling substantively on the Motion to Dismiss related to Dr.

Warren and Tri-State.

      The District Court’s order is required to be vacated, and Dr. Warren and Tri-

State, like Moderna and Kroger, are due to be dismissed from the action.

            V. ARGUMENT AND CITATIONS TO AUTHORITY

   A. Standard of Review on Appeal

      This Court’s review of an error of law in the application of the PREP Act is

de novo. Highmark Inc v. Allcare Health Mgmt. Sys., Inc., 572 U.S. 559, 563 (2014);


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Singh v. Rosen, 984 F.3d 1142, 1148 (6th Cir. 2021). This Court reviews de novo a

district court’s decision regarding subject matter jurisdiction. Long, 201 F.3d at 759.

   B. The District Court’s Orders

      On November 9, 2022, the District Court found it had federal removal

jurisdiction over the claims in this action, including the claims against Dr. Warren

and Tri-State. The court chose to exercise that jurisdiction by ruling substantively

on the Motion to Dismiss related to Warren and Tri-State. The Court also found that

the COVID-19 vaccine was a covered countermeasure and that Moderna and Kroger

were covered persons under the PREP Act. Mem. Op. and Order [R. 32], PageID#

540-41. First, the Court found the Moderna vaccine is a covered countermeasure. Id.

at PageID# 540. Next, it found that the negligence and battery claims arise out of,

relate to or result from the COVID vaccine. Id. at PageID# 541. Then, the Court

found Moderna is alleged to be a “manufacturer,” (id. at PageID# 542) and Kroger

is alleged to be an administrator, (id. at PageID# 543), thereby warranting the

protections of the PREP Act and requiring dismissal due to the Act’s immunity from

and preemption of all state law claims. The Court also recognized that it could not

have applied the PREP Act or ruled upon a motion to dismiss without first




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establishing federal court jurisdiction. See Order on Mt. to Alert or Amend [R. 37],

PageID# 583.

       As to Dr. Warren and Tri-State, however, the Court erroneously found they

were not covered persons or qualified persons under the PREP Act because, to-wit:

“No facts are present in the Complaint to show that Dr. Warren and Tri-State

administered, prescribed, or dispensed a vaccine to Ms. Goins.” Id. at PageID# 543-

44; see also id. at PageID# 543, 545-55 (Warren and Tri-State did not prescribe,

administer, or dispense the vaccine). The lower court’s fundamental error is in

failing to acknowledge that “countermeasures” expressly include the products and

devices used to diagnose and treat adverse reactions to the vaccine. Had the Court

correctly defined covered countermeasures as Congress requires, Dr. Warren and

Tri-State, like Moderna and Kroger, would have been dismissed under the PREP

Act.

       The issue then boils down to whether the products and devices Warren and

Tri-State are alleged to have utilized are covered countermeasures. If the answer to

that issue is “yes,” as it is, the District Court’s order is due to be reversed, and Dr.

Warren and Tri-State are due to be dismissed. Moderna, Kroger, Warren and Tri-

State are indistinguishable for purposes of the statutory defenses afforded to them

under the PREP Act; yet, the lower court drew a non-existent line between the

vaccine and other countermeasures. The District Court erred in doing so.


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   C. The PREP Act Governs This Action

      PREP Act immunity and defensive preemption apply to “all claims for loss

caused by, arising out of, relating to, or resulting from the administration to or the

use by an individual of a covered countermeasure.” 42 U.S.C. § 247d-6d(a)(1).

Goins’ claims of negligence and battery in the utilization of FDA approved

diagnostic and treatment products/devices are the very heart of the Complaint, have

a “causal relationship with the…use of a covered countermeasure” and thereby reap

the benefit of the Act’s protections. Id., § 247d-6d(a)(2)(B).

      “Covered countermeasures” include “qualified pandemic or epidemic

products”. Id. § 247d-6d(i)(1)(A). A “qualified pandemic” product “is a product …

used… or procured…to limit the harm such pandemic or epidemic might otherwise

cause”—such as the COVID-19 vaccine or procedures to diagnose or treat any

reactions caused by that vaccine. Id. § 247d-6d(i)(7)(i)(II). A “qualified product”

specifically includes any “product…used…or procured to diagnose…[or] treat…a

serious or life-threatening disease or condition caused by a [harm-limiting, i.e.

vaccine] product,” i.e., products used to diagnose or treat conditions caused by the

COVID-19 vaccine. Id. § 247d-6d(i)(7)(A)(ii) (emphases added). “[The Pandemic

and All-Hazards Preparedness Reauthorization Act]…extended the definition of

‘qualified pandemic or epidemic products’…covered under a PREP Act Declaration

to include products…intended to enhance the…effect of a drug, biological product,


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or device used… against adverse events from these products.” Declaration, 85 Fed.

Reg. at 15198, Col. B. Such products must be FDA-approved or authorized. 42

U.S.C. § 247d-6d(i)(7), (i)(7)(B).4 The Fourth Amendment confirms that “Covered

Countermeasures are:…a product…used to…diagnose, mitigate, prevent, treat,

or cure a serious or life-threatening disease or condition caused by a

[vaccine].” Fourth Amendment, 85 Fed. Reg. at 79196, Col. C (emphases added);

see also AO 20-03, p. 4 (a drug used to treat “a side-effect of [COVID-19] vaccine

administration” is a covered countermeasure).

        HHS contemplated a question nearly identical to the one posed by this

appeal—determining that “epinephrine, when used to treat a…vaccine reaction, [is]

a ‘covered countermeasure’ within the meaning of the PREP Act.” AO 20-03, p. 1.

HHS’s epinephrine example illustrates when products utilized in the treatment or

diagnosis of conditions caused by the administration of a COVID-19 vaccine satisfy

the PREP Act’s definition of “covered countermeasure.” HHS explains:

        CDC recommends that…epinephrine is the treatment of choice for
        severe acute vaccine reactions involving respiratory or cardiovascular
        symptoms….And, under the PREP Act, “Covered Countermeasures”
        include qualified products…used…or procured to diagnose…a serious
        or life-threatening disease or conditions caused by such
        a…device….Epinephrine mitigates or treats a serious or life-
        threatening conditions that, in some rare instances, may be a side
        effect of vaccine administration….The PREP Act would not


   4
       See supra n. 1

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      [otherwise] cover the administration of to address unrelated respiratory
      or cardiovascular symptoms.

AO 20-03, pp. 3-4 (italics in original, bold and underline added). The same reasoning

applies here See 42 U.S.C. § 247d-6d(i)(7) (defining qualified pandemic product).

Note that HHS was expressly given the authority to determine the “threats to

health”— i.e., vaccine reactions—for which “countermeasures” would be used. Id.

§ 247d-6d(b)(2)(A). Note further that Congress assured such determinations could

not be second guessed by the judiciary but that the Secretary would report directly

to Congress as a check and balance on the decisions made under subsection (b) of

the Act. Id. § 247d-6d(b)(7) (judicial review prohibition), (b)(9) (30 day reporting

requirement).

      Hence, because the COVID-19 vaccine is a countermeasure product “intended

to prevent or cure COVID-19,” any claim of loss related to a product used to

“diagnose, mitigate, prevent, treat, or cure a serious or life-threatening disease or

condition   caused    by”   the   COVID-19      vaccine    constitutes   a   “covered

countermeasure” under the scope of the PREP Act protections and are wholly

protected from suit. Id. § 247d-6d(a)(1), (i)(7)(A). Further, “person[s] or entit[ies]

that…administered or dispensed such countermeasure[s]” to combat conditions

caused by the COVID-19 vaccine, like Dr. Warren and Tri-State, are “covered

person[s]” afforded protections under a federal forum by the PREP Act. See id.

§ 247d-6d(i)(2), (i)(8).
                                         17
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       The language of the Goins Complaint provides that the “products” utilized by

Dr. Warren—and by extension, Tri-State Gastroenterology—in diagnosing Ms.

Goins’ condition resulting from the COVID-19 vaccine can be classified as

“qualified pandemic or epidemic products” and, therefore, are covered

countermeasures. Prior to and during her hospitalization, Ms. Goins allegedly began

experiencing dangerously low and fluctuating blood glucose levels and suffered

from abdominal pain as well as ruptured veins due to “[t]he thickness of [her]

concentrated glucose.” See Compl. [R. 1-2], PageID# 37-38, ⁋⁋13-15, 17, 22. “[T]o

determine” (i.e., to diagnose) the root cause and source of Ms. Goins’ hypoglycemia

and abdominal pain—side effects she alleges to be the result of her COVID-19

vaccination—Dr. Warren performed, “under monitored anesthesia care,”5 “an upper

endoscopic      ultrasound      with        fine    needle        aspiration,”6   “an




   5
         Rajni Ahlawat, Gilles J. Hoilat, and Albert B. Ross,
Esophagogastroduodenoscopy, NATIONAL LIBRARY OF MEDICINE, NATIONAL
CENTER FOR BIOTECHNOLOGY INFORMATION (last visited Jan. 10, 2023),
https://www.ncbi.nlm.nih.gov/books/NBK532268/ (“Routine endoscopy in…adults
[such as an esophagogastroduodenoscopy] is usually performed…using…general
anesthesia”).
    6
      Benjamin Tharian, Fotios Tsiopoulos, Nayana George, Salvatore Di Pietro,
Fabia Attili, and Alberto Larghi, Endoscopic Ultrasound Fine Needle Aspiration:
Technique And Applications in Clinical Practice, WORLD J. OF GASTROENTEROLOGY
532         (2012)        (last      accessed       Mar.         3,      2023),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3536850/ (indicating that an
endoscopic ultrasound fine needle aspiration is commonly utilized to detect and
diagnose “pancreatic masses”).
                                        18
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esophagogastroduodenoscopy,”7 and “a pancreatic biopsy.”8 Id. at PageID# 39, ⁋⁋

23-24. The procedures are commonly used to rule out (as Dr. Warren did so rule out)

the presence of pancreatic masses such as an insulinoma, a common cause of

hypoglycemia,9 allowing then for a diagnosis of a condition related to or resulting

from the COVID-19 vaccine. See id.; see also id. at PageID #39, ⁋25 (“no

identifiable mass” was located on Ms. Goins’ pancreas).

       The products necessary to perform the diagnostic procedures described in

Goins’ Complaint generally included: (i) endoscopes/gastroscopes,10 (ii) EUS-FNA




   7
       Esophagogastroduodenoscopy – EGD, STANFORD MEDICINE | HEALTH CARE
(last accessed Mar. 3, 2023), https://stanfordhealthcare.org/medical-tests/e/egd.html
(indicating “esophagogastroduodenoscopy” or “upper endoscopy” are
interchangeable); Upper Endoscopy, AMERICAN CANCER SOCIETY (last accessed
Mar.       3,      2023),       https://www.cancer.org/treatment/understanding-your-
diagnosis/tests/endoscopy/upper-endoscopy.html (noting endoscopies are often
performed as part as an “endoscopic ultrasound” to “look at” and “treat problems”
in the “pancreas”).
    8
      Pancreas Biopsy, STANFORD MEDICINE | HEALTH CARE (last accessed Mar. 3,
2023)            https://stanfordhealthcare.org/medical-conditions/cancer/pancreatic-
cancer/pancreatic-cancer-diagnosis/biopsy.html (explaining that pancreatic biopsies
are often combined with a endoscopic ultrasound-guided fine needle aspiration
biopsy “to locate [a] tumor” on the pancreas).
    9
        Insulinoma, JOHNS HOPKINS MEDICINE (last accessed Mar. 3, 2023),
https://www.hopkinsmedicine.org/health/conditions-and-diseases/insulinoma
(stating that “insulinomas can cause hypoglycemia”).
    10
       See Ahlawat, supra n.5 (stating esophagogastroduodenoscopies require the use
of a “gastroscope”); Andrew C. Storm & Linda S. Lee, Endoscopic Ultrasound-
Guided Techniques For Diagnosing Pancreatic Mass Lesions: Can We Do Better?,
WORLD J. OF GASTROENTEROLOGY (last accessed Mar. 3, 2023),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5075543/ (pancreatic biopsies
                                         19
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needles,11 (iii) an ultrasound device,12 (iv) stylets,13 (iv) suction devices,14 and (v)

“anesthesia”15—all of which are FDA-approved drugs or devices pursuant to the

FD&C Act.16 Being FDA-approved, the subject “devices” are “qualified pandemic



require the positioning of a “scope”); Tharian, supra n. 6 (endoscopic ultrasound
fine needle aspiration procedures require “curvilinear echoendoscopes”).
     11
        See Storm, supra n.10 (pancreatic biopsies require the “selection of [a Fine
Needle Aspiration] needle”); Tharian, supra n.6.
     12
         See Tharian, supra n.6 (discussing “endoscopic ultrasound fine needle
aspiration”, a procedure performed on Ms. Goins (see Compl. [R. 1-2], PageID# 39,
⁋ 23)) (emphasis added).
     13
        Storm, supra n.10.
     14
        Id.
     15
        See Ahlawat, supra n.5.
     16
         The FDA provides a database detailing the classification of all approved
medical devices. Product Classification, U.S. FOOD & DRUG ADMINISTRATION (last
accessed                       Mar.                     3,                    2023),
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm. The
classifications of FDA approvals for the Goins devices are:
     Gastroscope: Class II;
     Biopsy Needles for Gastroenterology/Urology: Class II;
     Endoscopic Ultrasound System, Gastroenterology-Urology: Class II;
     Stylet for Catheter, Gastro-Urology: Class I;
     Instrument, Biopsy, Suction, Gastroenterology/Urology: Class II.
See also 21 U.S.C. § 360c (discussing the classification system of medical “devices”
intended for human use); Product Classification: Biopsy Needle, U.S. FOOD & DRUG
ADMINISTRATION             (last      visited          Jan.        11,        2023),
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=18
28; Product Classification: Endoscopic Ultrasound System, Gastroenterology-
Urology, U.S. FOOD & DRUG ADMINISTRATION (last visited Jan. 11, 2023),
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=21
52; Product Classification: Gastroscope and Accessories U.S. FOOD & DRUG
ADMINISTRATION             (last      visited          Jan.        11,        2023),
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=18
54; Product Classification: Instrument, Biopsy, Suction, U.S. FOOD & DRUG
                                          20
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and epidemic” “products” and “devices,” which are identified in the PREP Act as

constituting a “covered countermeasure.” 42 U.S.C. § 247d-6d(i)(7) (defining

“qualified pandemic or epidemic product”).

      Ms. Goins’ physicians diagnosed the cause of her condition was a “reaction

to her…second Moderna COVID-19 vaccine.” Compl. [R. 1-2], PageID# 38-39

⁋⁋19-20, 26. The Complaint avers that the vaccine was the determined root cause of

Ms. Goins’ original hypoglycemia and abdominal pain as those symptoms first arose

four days after Ms. Goins’ second vaccination but before Dr. Warren administered

any treatment to Ms. Goins. See Compl. [R. 1-2] PageID# 37, ⁋⁋13-14 (Ms. Goins

received her second vaccine on July 31, 2021, and began experiencing side effects

from the vaccine on August 3, 2022), PageID# 39, ⁋26 (“After many tests were

performed [by Dr. Warren] and none resulted in a conclusive diagnosis, the doctors

state it could have been a reaction to her…second Moderna COVID-19 vaccine.”).

Goins provides no alternative root cause for the onset of her hypoglycemia and

abdominal pain. See generally id.; see also id. at PageID# 39, ⁋30 (alleging Kroger

committed battery against Goins by performing a high risk procedure of injecting a



ADMINISTRATION           (last          visited       Jan.        11,       2023),
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=18
31; Product Classification: Stylet for Catheter, Gastro-Urology, U.S. FOOD & DRUG
ADMINISTRATION           (last          visited       Jan.        11,       2023),
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=17
83).
                                        21
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“transformative vaccine” that was contraindicated for Ms. Goins’ medical

condition), PageID# 40 ⁋37 (alleging Moderna committed battery against Goins by

“distributing a high risk pharmaceutical” (i.e. the vaccine) that was contraindicated

for Goins). Alternative potential conditions were evaluated but ruled out, leading

physicians to diagnose Ms. Goins’ symptoms were caused by the COVID-19

vaccination. See id. at PageID# 39, ⁋⁋ 23-24.

      In short, Ms. Goins experienced conditions after receiving her second

Moderna COVID-19 vaccine. Id. at PageID# 37-38, ⁋⁋13-16. Dr. Warren, then,

utilized FDA-approved products to “diagnose” and/or “mitigate” these conditions.

Id. at PageID# 39, ⁋26. Dr. Warren “used” and/or “procured” products “to

diagnose…[or] treat…a serious or life-threatening disease or condition caused by a

[pandemic or epidemic harm-limiting] product”—the COVID-19 vaccine. See 42

U.S.C. § 247d-6d(i)(7)(A)(ii); Fourth Amendment, 85 Fed. Reg. 79196, Col. C.

      Goins alleges the administration or use of covered countermeasures by a

covered persons and has subjected her claims to the PREP Act.

   D. The District Court Wrongly Limited the Application of the Act to
      Defendants Moderna and Kroger.

      The District Court correctly found the PREP Act allows for immunity and

defensive preemption in its Order on Motion to Dismiss. See Mem. Op. and Order

[R. 32], PageID# 541-46 (granting Moderna’s and Kroger’s Motions to Dismiss and

denying Dr. Warren’s and Tri-State’s Motion pursuant to the PREP Act). It
                                         22
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necessarily then correctly found that the negligence, battery and intentional harm

punitive damages claims fell within the scope of the PREP Act. See id. at PageID#

542-43 (dismissing Ms. Goins’ “state law battery and negligence claims” against

Moderna and Kroger); see also id. at PageID# 546 (noting the claims against Dr.

Warren and Tri-State are state law “negligence, battery, and vicarious liability”

claims).   The court erred, however, in limiting its holding and dismissal to

Defendants Moderna and Kroger only.

      Once a claim, such as the claims against Dr. Warren and Tri-State, falls within

the scope of the Act, the covered person sued is entitled to suit and liability immunity

as well as defensive “ordinary” preemption.

      (a)(1) Subject to the other provisions of this section, a covered person
      shall be immune from suit and liability under Federal and State law with
      respect to all claims for loss caused by, arising out of, relating to, or
      resulting from the administration to or the use by an individual of a
      covered countermeasure if a declaration under subsection (b) has been
      issued with respect to such countermeasure.

                                          ***

      (b)(8) During the effective period of a declaration under subsection
      (b)…no State or political subdivision of a State may establish, enforce,
      or continue in effect with respect to a covered countermeasure any
      provision of law or legal requirement that—

      (A) is different from, or is in conflict with, any requirement applicable
          under this section; and

      (B) relates to the…use…or administration by qualified persons of the
      covered countermeasures under this section or any other provision of
      this chapter, or under the [FD& C Act.]

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42 U.S.C. § 247d-6d(a)(1), (b)(8). These are the grounds upon which the District

Court granted Moderna and Kroger’s Motions to Dismiss and should have also

granted those motions filed by Dr. Warren and Tri-State. See Mem. Op. and Order

[R. 32], PageID# 538-40; see also Bruesewitz v. Wyeth, LLC, 562 U.S. 223, 253

(2011) (while majority finds the lesser language of the National Childhood Injury

Vaccine Act of 1986, 42 U.S.C. § 300aa-1, et seq., defensively preempts state law

claims, the dissent notes the PREP Act language is stronger). Such broad immunity

and preemption nullifies all state claims. Declaration, 85 Fed. Reg. at 15202.17

        As the District Court says, the application of this statutory immunity and

preemption depends on whether the Defendants are “covered persons” taking part in

“covered countermeasures”. Mem. Op. and Order [R. 32], PageID# p. 539. But the

court gets it wrong in failing to extend the applicable definition of

“countermeasures” to include “qualified pandemic” products” and the FDA-

approved products and devices alleged in the Complaint to have been used by Dr.

Warren and Tri-State.




   17
      “PREP Act immunity must be read in light of the PREP Act’s broad, express-
preemption provision.” See HHS Advisory Opinion 21-01, pp. 1-2 (Jan. 8, 2021).
Indeed, HHS refers six times to the broad applicability of immunity from state law
claims, (HHS AO 20-01, pp. 2, 4, 7; HHS AO 20-04, pp. 1-2), and eight times to the
“broad” applicability of the PREP Act’s preemption of state law claims, (HHS AO
21-01, pp. 1-2; HHS AO 20-02, pp. 4-5 (May 19, 2020); HHS AO 20-04, p. 3).
                                         24
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                               VI. CONCLUSION

      WHEREFORE, for all the within and foregoing reasons, the District Court’s

remand order is erroneous. Said Order is due to be reversed as to Dr. Warren and

Tri-State and a dismissal is required as Congress directed.

      Respectfully submitted this 13th day of March, 2023.

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                         CERTIFICATE OF COMPLIANCE

          In compliance with FED. R. APP. P. 32(a)(7)(C), the undersigned counsel

hereby certifies the following:

   (i)       This brief complies with the type-volume limitation of FED. R. APP. P.

             32(a)(7)(B) because this brief contains 5,566 words, excluding the parts of

             the brief exempted by FED. R. APP. P. 32(f).

   (ii)      This brief complies with the typeface requirements of FED. R. APP. P.

             32(a)(5) and the type style requirements of FED. R. APP. P. 32(a)(6)

             because this brief has been prepared in a proportionally spaced typeface

             using Microsoft Word for Office 365 with size 14, Times New Roman type

             style.

          Respectfully submitted this 13th day of March, 2023

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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 13, 2023, I caused a copy of the foregoing

Defendants-Appellants’ Principal Brief to be served upon the following attorneys

by filing said document via email and with the CM/ECF system to the following:

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                            [continued on next page]




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                      ADDENDUM

   (Pursuant to 6 CIR. R. 28(b)(1)(A)(i) and R. 30(g)(1))




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   DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

       Pursuant to Sixth Circuit Rules 28(b)(1)(A)(i) and 30(g)(1), Defendants-

Appellants have designated the following docket entries from the Eastern District of

Kentucky No. 2:22-CV-00091.

                                                                   PageID# Range
 RE#                         Description

  1     Notice of Removal by Modernatx, Inc. (July 18, 2022)       1-60

        Exhibit A To Notice of Removal Complaint With Jury
 1-2                                                               29-54
        Demand (July 22, 2022)

        Exhibit D to Notice of Removal: Advisory Opinion 20-
 1-4                                                         77-85
        01(May 19, 2020)

        Exhibit E1 to Notice of Removal: HHS Response
 1-5                                                               86-87
        Letter (Aug. 14, 2022)

        Exhibit E2 to Notice of Removal: HHS Guidance of
        COVID-19 Screening Tests at Nursing Homes,
 1-6                                                               88-90
        Assisted, Living Facilities, Long-Term-Care Facilities,
        and other Congregate Facilities, Long Term-Care

        Exhibit F to Notice of Removal: Advisory Opinion 20-
 1-7                                                               91-981
        04 (Oct. 23, 2022)

        Exhibit G to Notice of Removal: Fourth Amendment to
 1-8    the Declaration under the PREP Act, 85 Fed. Reg.    99-127
        79190 (Dec. 3, 2020)

        Exhibit H to Notice of Removal: Advisory Opinion 21-
 1-9                                                         128-132
        01 (Jan. 8, 2021)

      Exhibit I to Notice of Removal: Fifth Amendment to
 1-10 the Declaration Under the PREP Act, 86 Fed. Reg.             133-137
      7872 (Feb. 2, 2021)



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       Exhibit J to Notice of Removal: Statement of Interest
1-11                                                            138-152
       of the United States (Jan. 19, 2021)

       Notice of Filing Removal by Tri-State
 9     Gastroenterology Associates, Joel M. Warren (July 20,
       2022)

       Answer to Complaint filed by Saint Elizabeth Medical
10                                                              260-278
       Center, Inc. (July 20, 2022)

       Notice of Filing Removal by Saint Elizabeth Medical
11
       Center, Inc. (July 22, 2022)

12     Motion to Dismiss by Modernatx, Inc. (July 25, 2022)     396-426

14     Motion to Dismiss by The Kroger Co. (July 27, 2022)      429-437

       Motion to Dismiss for Lack of Jurisdiction by Tri-State
15     Gastroenterology Associates, Joel M. Warren (July 27, 438-472
       2022)

       Motion to Dismiss by The Kroger Co. with Modified
16                                                              473-492
       Text to Take Out Referral Language (July 29, 2022)

32     Memorandum Opinion And Order (Nov. 9, 2022)              532-548

       Motion to Stay by Tri-State Gastroenterology
35                                                              551-573
       Associates, Joel M. Warren (Nov. 18, 2022)

       Motion to Alter Judgment by Tri-State
36                                                              574-580
       Gastroenterology Associates (Nov. 18, 2022)

       Order Granting in Part and Denying in Part Motion for
37     to Stay (35) and Denying Motion to Amend or Alter        581-587
       (36) (Nov. 29, 2022)

38     Amended Judgment Remanding Case (Nov. 29, 2022)          588-589

39     Notice of Appeal                                         590-618



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